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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 15-82-GF-BMM

                     Plaintiff,                           ORDER

 vs.

 PAIGE LARANN DEMARCE,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and Findings and Recommendations. Judge Johnston entered

his Findings and Recommendations on April 20, 2018. Defendant admitted that

she had violated the conditions of her supervised release: 1) by possessing a

controlled substance; 2) by using a controlled substance; 3) by failing to report for

substance abuse testing; and 4) by failing to participate in substance abuse

treatment. Judge Johnston found the admissions sufficient to establish the

supervised release violations. Judge Johnston recommended that this Court revoke

Defendant's supervised release and commit her to the custody of the United States

Bureau of Prisons for a term of imprisonment of 5 months, with 28 months of

supervised release to follow. Judge Johnston further recommended that the first 2

months of supervised released be spent in a treatment facility designated by the

United States Probation Office.
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      Both parties waived their right to submit objections to Judge

Johnston’s Findings and Recommendations. Judge Johnston’s Findings and

Recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s Findings and Recommendations.

Defendant admitted that she had violated the conditions of her supervised release.

Defendant could be incarcerated for up to 36 months, followed by 30 months of

supervised release less any custody time imposed. The United States Sentencing

Guidelines call for a term of imprisonment of three to nine months. A custodial

sentence of 5 months, followed by 28 months of supervised release is appropriate.

The sentence is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 124) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 24th day of April, 2018.




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